       Case 2:12-cv-00859-LMA Document 1229 Filed 03/27/19 Page 1 of 5




                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA


LASHAWN JONES, ET AL.                                           CIVIL ACTION

VERSUS                                                          NUMBER: 12-0859

MARLIN N. GUSMAN, ET AL.                                        SECTION: “I”(5)


                                         ORDER

      The Clerk is directed to file the attached correspondence into the record of this

proceeding.

      New Orleans, Louisiana, this 27th day of          March          , 2019.




                                                  MICHAEL B. NORTH
                                            UNITED STATES MAGISTRATE JUDGE
         Case 2:12-cv-00859-LMA Document 1229 Filed 03/27/19 Page 2 of 5
                          Roderick and So lange MacArthur J ustice Center
                          4400 South Carrollton Avenue
                          New Orleans , Louisiana 70119
                          0 504 620 2259
                          F 504 208 3133

                          macarthurjustice.org




                                                 March 22, 2019

Hon. Michael B. North
500 Poydras Street
RoomB419
New Orleans, LA 70130
Michael_N orth@laed.uscourts.gov
efile-north@laed.uscourts.gov

Via Electronic Mail

                  Re: Jones v. Gusman, No. 12-cv-00859, Attorney Visitation

Magistrate Judge North,

         Counsel for the Plaintiff Class write to express our concern regarding the City' s proposal
to reduce the area for attorney visitation in the Special Needs Building (Phase Ill). As we
understand the current state of discussions, the Orleans Parish Sheriff's Office (OPSO) has
proposed space for ten (10) total visitation rooms, five of which would be contact attorney
visitation rooms while the remaining five would be for non-contact visits that could also serve as
family visitation rooms. We understand that the City has proposed dramatically reducing the
number of attorney visitation rooms, perhaps to as few as two (2). The origins and basis for the
City's proposed reduction in attorney visitation rooms are opaque to us. To the extent that
reducing the attorney visitation rooms is an effort at cost savings, such a decision would be a
false economy and is directly at odds with the City's stated policy goal of reducing the
incarceration rate.

        The attorney visitation program has been a significant and longstanding problem at the
Orleans jail. In 2011 , the Orleans Public Defenders (OPD) and intervenor Loyola Law School
filed a mandamus action to enforce the Sheriffs statutory and constitutional obligation to
provide attorneys with reasonable access to their clients. This action resulted in the entry of a
stipulated preliminary injunction in May 2012. Orleans Public Defenders v. Sheriff Marlin
Gusman, 2011-10638, Civil District Court Parish of Orleans. Among other things, this order
requires confidential visitation, wait times limited to thirty (30) minutes, the availability of
contact visitation, and consultation with the OPD and Loyola Law School prior to finalization of
any plans for future facilities.

         Prior to opening the Orleans Justice Center (OJC), the Sheriff s Office had operated
fifteen (15) contact and non-contact visitation rooms, and this space had proved inadequate to the
visitation needs. Even with programmatic changes to fix regular visiting hours, attorneys seeking
to visit clients experienced extended wait times, in part due to the physical space limitations.
          Case 2:12-cv-00859-LMA Document 1229 Filed 03/27/19 Page 3 of 5




         In 2014, while OPSO was in the process of building OJC, OPD enforced the stipulated
preliminary injunction to review the proposed plans. OPSO represented to OPD that twenty (20)
total attorney visit rooms would be made available in the new facility, including fifteen contact
rooms near the housing tiers, two contact rooms near central control, and three non-contact
rooms with document pass through slots on the first floor. For reasons that remain unclear, when
OJC opened, only the two contact rooms near central control and the three non-contact rooms
were made available for attorney visitation, a total of only five (5). 1 Since 2015 OJC has been
operating with these five attorney visit rooms for the population of OJC.

        The chilling effect that the underbuilding of visitation rooms has had on client access to
counsel cannot be overstated. OPSO remains in violation of the stipulated preliminary injunction
because wait times for visits regularly exceed an hour or more and visitation time slots are
frequently unavailable. OPSO has extended attorney visitation hours and has set up a scheduling
system, but wait times remain excessive. The significant space limitations are a frequent cause of
these wait times. As OPSO 's staffing increases and its functioning becomes more efficient, these
space limitations may become the primary cause of these wait times.

        As a result of these wait times, attorneys are not able to access their clients in the jail
efficiently, further impeding the already slow and inefficient proceedings at criminal court and
increasing attorney's fees associated with the Consent Judgment litigation. Any jail population
reduction strategy must include seeking out and encouraging efficiencies in the criminal justice
system. Impeding attorney-client visitation by maintaining the current space limitations is at
odds with the City's stated aim. Further, these wait times make any data regarding the current
number of attorney visits actually occurring inherently flawed, as the data does not reflect the
number of visits that should, but do not occur at the jail because of these space limitations.

         Other jurisdictions are instructive on the space requirements of an effective attorney
visitation program. Based on the report of a Special Master regarding the compliance of the jail
in Lucas County, Ohio, the population of the jail was capped at 226 people in regular jail
housing, or a maximum of 315 people when including cells for people with medical needs and
areas exclusively used for twelve hours or less for intake and pre-classification holds.2 The
Court's original order required that the jail be able to accommodate a minimum of three separate



1 The rooms next to the housing units appear to be used for other purposes, ranging from storage to mental health
programming to investigations. They are very occasionally made available for attorney visits in extraordinary
circumstances. However, even if rooms next to the housing units were made available for attorney visitation, the
Plaintiff Class is concerned it would be unable to utilize them as they are visible from the tiers, creating potential
conflict and confidentiality concerns among class members.
2 Jones v. Wittenberg, 440 F.Supp. 60, 73 (N.D. Ohio 1977).


                                                                                                                    2
           Case 2:12-cv-00859-LMA Document 1229 Filed 03/27/19 Page 4 of 5




attorney contact visits at once. 3 Under the most conservative estimate, the Court was
contemplating at least one attorney contact visit room per every 10 I pretrial prisoners in the jail. 4
Even with Orleans Parish's reduced prison population, such a rubric would require nearly
thirteen5 confidential attorney visitation rooms. Admittedly, this is a rough calculation, but the
results are consistent with the experiences of both attorneys seeking to visit their clients and the
OPSO.

        Examining the degree to which the problems created by the lack of attorney visitation
space are of OPSO's own making is not a fruitful exercise. The·status quo results in daily
violations of pretrial detainees' constitutional rights, state law requiring the Sheriff provide
reasonable access to attorneys, and a civil district court order. Beyond the Sixth Amendment
rights at stake, limitations on attorney visitation space significantly impede Plaintiff Class'
access to clients. These rights of access are essential to assessing progress OPSO is making
towards compliance with the Consent Judgment and gauging whether systemic programmatic
changes are successful in improving conditions for people in the jail. Spending hours waiting for
a visitation room to become available to see a client is not an efficient use of Plaintiff Class
counsel's time and is not an efficient use of OPSO and City funds.

         Significant, additional attorney visitation space must be provided if the criminal defense
bar is to have adequate access to their clients and if the criminal justice system is to begin to
move with some expediency and efficiency. Accordingly, the Plaintiff Class strongly objects to
any proposal to reduce the number of attorney visitation rooms proposed for Phase Ill

                                                                            Respectfully,

                                                                             ~
                                                                            Emily Washington
                                                                            Attorney for the Plaintiff Class




3
  Jones v. Wittenberg, 440 F.Supp. 60, 95 (N.D. Ohio 1977). Notably, at the time of the Court' s order requiring
capacity for three contact visits, the population of the jail was 162, with an average daily population of 180. If thjs
number is taken, then the Court ordered at least one attorney visitation room per every 60 pretrial prisoners.
4
  This number is arrived at by dividing the three-room space by the total number of possible prisoners in the jail, 305.
5
  The precise number of 12.8 rooms is arrived at by dividing the rough average of the population, 1300, by 101. This
rough average population is taken from Jim Austin's rated capacity of the OJC building of 1,294. While the Plaintiff
Class appreciates that the jail population is decreasing and supports efforts to reduce the numbers of incarcerated
people, the Plaintiff Class understands that so long as jail beds remain available, there is the risk for the jail population
to increase again. New Orleans already has the jail beds; now it must provide the criminal justice infrastructure they
demand.

                                                                                                                           3
     Case 2:12-cv-00859-LMA Document 1229 Filed 03/27/19 Page 5 of 5




cc       Hon. Lance Africk (efile-africk@laed.uscourts.gov)

         Sheriff Marlin Gusman
         Orleans Parish Sheriffs Office
         c/o Blake Arcuri
         arcurib@opso.us

         Margo Frasier (margo.frasier@yahoo.com)
         Susan McCampbell (susanmccampbell@mccampbellassoc.com)

         Laura Cowall (laura. cowell@usdoj.gov)

         Sunni LeBeouf
         New Orleans City Attorney
         Sunni.LeBeouf@nola.gov

         New Orleans City Council
         Helena Moreno (morenocouncil@nola.gov)
         Jason Williams Gasonwilliams@nola.gov)
         Joseph Giarrusso III (Joseph.Giarrusso@nola.gov)
         Jay Banks (Jay.Banks@nola.gov)
         Kristin Gisleson Palmer (Kristen.Palmer@nola.gov)
         Jared Brossett (councildistrictd@nola.gov)
         Cyndi Nguyen (Cyndi.Nguyen@nola.gov)

         Orleans Public Defenders
         Derwyn Bunton
         Chief District Defender
         dbunton@opdla.org




                                                                       4
